                                                          Exhibit 4


Jake Doran

From:                             Jake Doran
Sent:                             Friday, January 12, 2024 11:19 AM
To:                               Justin Winch
Subject:                          RE: Donadio Exhibits (6) six exhibits



Justin,

As discussed on Wednesday, please let me know if the property will be made available on January 15 th or 16th
by end of day. Also, if these dates are unavailable for some reason, please let me know if your client consents
to the engineering inspection and provide an alternative date.

Also, let me know if January 31st at 1 PM works for you for the continuation of the corporate rep
deposition. Further, please advise if Mr. Sanders will be available for an in-person deposition on February 1 st or
2nd.

I also am requesting the following documents discussed during the deposition:

         All documents related to Mr. Washington’s two other active property suits;
         The spreadsheet breaking down alleged costs of repairs for Ida v. renovations;
         The lease agreements of the new tenants;
         Home inspection report following purchase of the property;
         All photos of the property prior to Hurricane Ida but before renovations;
         All photos of the completed repairs done prior to Hurricane Ida; and
         Tax returns.

Lastly, please provide your client’s updated settlement demand.

Best,
Jake

From: Justin Winch <justin.winch@winchlawfirm.com>
Sent: Tuesday, January 9, 2024 10:01 AM
To: Jake Doran <jdoran@bluewilliams.com>
Subject: Donadio Exhibits (6) six exhibits

Please forward to Mr. DOnadio, and then have him conﬁrm when he receives them. I will share them on screen, but i
wanted him to have an actual copy. Thank you Jake!

Sincerely,



Jus n L. Winch, Esq.
504.214.3400 Phone
504.389.4900 Fax
jus n.winch@winchlawﬁrm.com Email

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                                                       Exhibit 4
Visit us at www.winchlawﬁrm.com

Winch Law Firm, llc | 324 18th St | New Orleans | Louisiana 70124




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